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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF CONNECTICUT

RUSS McCULLOUGH, et al.,                    :   No. 3:15-cv-01074 (VLB)
                                            :   Lead Case
                                Plaintiffs, :
                                            :
                    vs.                     :
                                            :
WORLD WRESTLING                             :
ENTERTAINMENT, INC.,                        :
                                            :
                               Defendant. :     August 8, 2016


 EVAN SINGLETON and VITO                    :   No. 3:15-cv-00425 (VLB)
 LOGRASSO,                                  :   Consolidated Case
                                            :
                                Plaintiffs, :
                                            :
                    vs.                     :
                                            :
WORLD WRESTLING                             :
ENTERTAINMENT, INC.,                        :
                                            :
                               Defendant. :     August 8, 2016


           DEFENDANT WORLD WRESTLING ENTERTAINMENT, INC.’S
           MOTION FOR SANCTIONS FOR FAILURE TO COMPLY WITH
                 COURT’S ORDER ON MOTION TO COMPEL

      Pursuant to Rules 33 and 37 of the Federal Rules of Civil Procedure, Rule

37 of the Local Rules of Civil Procedure, and the Court’s inherent authority,

Defendant World Wrestling Entertainment, Inc. (“WWE”) hereby moves for

sanctions relating to Plaintiffs’ failure to comply with the Court’s May 19, 2016

Order (“Compulsion Order”), which required Plaintiffs to provide complete and

accurate responses to certain interrogatories (See Doc. No. 144).




ORAL ARGUMENT REQUESTED
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      As set forth more fully in the accompanying Memorandum of Law, Plaintiffs

committed perjury in response to the Court’s Compulsion Order by verifying false

Second Supplemental Interrogatory Responses, and their counsel should be

sanctioned for drafting and signing those false responses. Plaintiffs also willfully

violated the Compulsion Order because the Second Supplemental Interrogatory

Responses were just as incomplete, evasive, and non-responsive as the First

Supplemental Interrogatory Responses that this Court already found did not

comply with the Federal Rules of Civil Procedure.

      WHEREFORE, WWE requests that the Court sanction Plaintiffs and their

counsel by dismissing the sole remaining claim of fraud by omission. WWE also

requests an order striking the Second Supplemental Objections and Responses

and precluding Plaintiffs from introducing any evidence that would have been

responsive to the interrogatories subject to the Compulsion Order. WWE further

requests an order requiring Plaintiffs’ counsel to either produce or provide to

WWE or to the Court their correspondence reflecting if and when Plaintiffs

reviewed the Second Supplemental Responses and sanctioning Plaintiffs’

counsel for submitting false supplemental interrogatory responses that

contradicted their clients’ deposition testimony. WWE also requests an order

compelling Plaintiffs and their counsel to pay WWE’s fees and costs in

connection with this motion.




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                            DEFENDANT WORLD WRESTLING
                            ENTERTAINMENT, INC.,

                            By: /s/ Jerry S. McDevitt_______
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                            CERTIFICATION OF SERVICE

       I hereby certify that August 8, 2016 a copy of foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent by e-mail to all parties by operation of the Court’s
electronic filing system or by mail to anyone unable to accept electronic filing as
indicated on the Notice of Electronic Filing. Parties may access this filing
through the Court’s CM/ECF System.

                                                    _/s/ Jeffrey P. Mueller__________
                                                     Jeffrey P. Mueller (ct27870)




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